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HALPERIN BATTAGLIA BENZUA, LLP
Carrie E. Essenfeld, Esq.

40 Wall Street, 37th Floor

New York, NeW York 10005

(212) 765-9100

Counselfor PlaintWCharles M. Berk,
Trustee for the Liquz`datz'ng Trust of
Inte)y‘”aith Medical Center, Inc.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

ln re:
INTERFAITH MEDICAL CENTER, INC.,

Debtor.

 

INTERFAITH MEDICAL CENTER, INC.
LIQUIDATING TRUST, by and through Charles
M. Berl<, as liquidating Trustee,

Plaintiff,
-against-
ATLANTIC AVENUE RADIOLOGY, PC,
Defendant.

 

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Hearing Date: July 13, 2015 at 2200 PM
Objection Dcadline: July 6, 2015 at4i)0 PM

Chapter l l

CaSe No. 12-48226 (CEC)

Adv. NO. 14-01155 (CEC)

NOTICE OF HEARING ()N MOTION
FOR ENTRY ()F DEFAULT JUDGMENT

PLEASE 'I`AKE NOTICE, that on July l3, 2015, Plaintiff Charles M. Berk, as

Liquidating Trustee of the IMC Liquidating Trust (the “Plaintiff”), by and through his counsel

Halperin Battaglia Benzija, LLP, filed With the United States Bankruptcy Court in the Eastern

District of NeW York a motion (the “Motion”) for a clerk’S certificate of default and entry of a

default judgment on all claims for relief in its complaint against Atlantic Avenue Radiology, PC

(the “Defendant”), as authorized by Bankruptcy Rule 7055. Plaintiff Will move this Court at the

hearing before the Honorable Carla E. Craig, United States Bankruptcy Judge, at Courtroom No.

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3529 at the United States Bankruptcy Court for the Eastern District of New York, Conrad B.
Duberstein Courthouse, 27l-C Cadrnan Plaza East, Brooklyn, NY 11201, on July 13, 2015 at
2:00 PM, or as soon thereafter as counsel can be heard, for entry of the attached Order granting
the Motion and the attached Judgment against Defendant.

PLEASE TAKE FURTHER NOTICE that obj ections, if any, must comply With
Federal Rules of Bankruptcy Procedure, must set forth in Writing a description of the basis
thereof, must be filed With the Court must be in Writing, filed With the Court by registered users
of the Court’s electronic case filing system and, by all other parties in interest, mailed to the
Clerk of the United States Bankruptcy Court, Eastern District of New York, U.S. Bankruptcy
Court, EDNY, Conrad B. Duberstein Courthouse, 271-C Cadman Plaza East, Suite 1595,
Brooklyn, NY 11201-1800, on a 3.5 inch floppy disk or compact disc, preferably in Portable
Document Format (PDF), Microsoft Word, or any other WindoWs-based Word processing format
(with a hard copy delivered directly to Chambers) and shall be served upon the undersigned
counsel to the liquidating Trustee at Halperin Battaglia Benzija, LLP, 40 Wall Street, 37th
Floor, New York, Nevv York 10005, Attention: Carrie E. Essenfeld, so as to be actually received

by no later than seven (7) business days after the date of this Notice.

Dated: NeW York, New York
June 16, 2015
HALPERIN BATTAGLIA BENZIJA, LLP

By: /s/ Carrie E. Essenfeld

40 Wan street 37“’ moot
New York, New York 10005
Telephone (212) 765-9l00
Facsimile (212) 765-0964

Counselfor Plaintz`ffCharles M Berk,
Trusteefor the Lz`quidating Trust of
laterfaith Medical Center, Inc.

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HALPERIN BATTAGLIA BENZUA, LLP
Carrie E. Essenfeld, Esq.

40 Wall Street, 37th Floor

New York, Nevv Yorl< 10005

(212) 765-9100

Counselfor PIainti/§”Charles M. Berk,
Trusteefor the Liquidating Trust of
Interfaz'z‘h Medical Cem‘er, Inc.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT ()F NEW YORK

 

ln rex
lNTERFAITI-l MEDICAL CENTER, lNC.,

Debtor.

 

INTERFAITH MEDICAL CENTER, INC.
LIQUIDATING TRUST, by and through Charles
M. Berk, as Liquidating Trustee,

Plaintiff,
-against-

ATLANTIC AVENUE RADIOLOGY, PC,
Defendant.

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Hearing Date: July 13, 2015 at 2:00 Pl\/l
Objection Deadline July 6, 2015 at 4:00 PM

Chapter ll

Case No. 12-48226 (CEC)

Adv. NO. 14~01155 (CEC)

MOTION FOR ENTRY OF A CLERK’S CERTIFICATE
OF DEFAULT AND FGR ENTRY OF DEFAULT JUDGMENT

Plaintiff Charles M. Berk, Trustee for the Liquidating Trust of Interfaith Medical Center,

lnc., hereby requests that the Court direct the Clerk of the Court to enter the certificate of default

pursuant to Fed. R. Civ. P. 55(a) and Fed. R. Bankr. P. 7055, and moves for entry of a default

judgment (the “Motion”) on all claims for relief in its complaint against Atlantic Avenue

Radiology, PC, pursuant to Fed. R. Civ. P. 55(b)(2) and Fed. R. Bankr. P. 7055. For the reasons

{00239463,1 / 1067-001 }

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set forth in the attached affidavit of Carrie E. Essenfeld, Plaintiff respectfully requests that this

Court grant the Motion.

Dated: New York, New York
June 16, 2015

HALPERIN BATTAGLIA BENZUA, LLP

By: /s/ Carrie E. Esserzfeld
Carrie E. Essenfeld
40 Wan street 37"‘ Fioor
New York, NeW York 10005
Telephone (212) 765-9100
Facsimile (212) 765-0964

Cozmselfor Plaintz`jj”Charles M. Berk,
Trusleefor the Liquz`dating Trust of
Interfaith Medz`cal Center, Inc.

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HALPERIN BATTAGLIA BENZIJA, LLP
Carrie E. Essenfeld, Esq.

40 Wall Street, 37th Floor

New York, New York 10005

(212) 765-9100

Counselfor Plaz'ntijCharles M. Berk,
Trusteefor the Liquidating Trust of
I)'zterfaz`z‘h Medz`cal Cenz‘er, lnc.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT ()F NEW YORK

 

ln re: Chapter 11

INTERFAITH MEDICAL CENTER, INC., Case No. 12-48226 (CEC)

Debtor.

 

INTERFAITH MEDICAL CENTER, INC.
LIQUIDATING TRUST, by and through Charles
M. Berk, as Liquidating Trustee,

P1ainaff,

'agamst' Adv. No. 14-01155 (cEc)

ATLANTIC AvENUE aADloLoGY, PC,
Defendant.

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AFFIDAVIT IN SUPPORT ()F MOTION FOR DEFAULT JUDGMENT ,
STATE GF NEW YORK )
coUNTY oF NEW YoRK § SS':
CARRIE E. ESSENFELD, being duly sworn, deposes and says:
l. l am an associate at the firm of Halperin Battaglia Benzija, LLP, attorneys for the
Plaintiff Charles M. Berk, Trustee of the IMC Liquidating Trust (the “E_la_i__r_i_tiff”), in the above

captioned adversary proceeding l am fully familiar With the facts and circumstances set forth

herein.

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BACKGROUND

1. On December 2, 2012 (the “Petition Date”), the Debtor commenced a case by
filing a voluntary petition for relief in this Court under chapter 11 of the Bankruptcy Code.

Preference Action

2. On or about November 24, 2014, the Trustee filed a complaint (the “Complaint”)
against Atlantic Avenue Radiology, PC (“Defendant”) pursuant to ll U.S.C. §§ 541, 542 and
550 which asserted that Defendant had received transfers from the Debtors totaling $46,104.85
(the “Transfers”) subject to avoidance pursuant to chapter 5 of the Bankruptcy Code. A copy of
the “Complaint” is annexed hereto as Exhibit “A”.

3. A Sumrnons and Notice of Pretrial Conference (the “Summons”) was issued on
December 3, 2014. A copy of the Summons is annexed hereto as Exhibit “B”.

4. The Snmmons, together with the Complaint were properly served on the
Defendant on December 10, 2014, in accordance With Federal R. Bankr. P. 7004(a), (b)(3) and
Fed. Civ. P. 4(c) addressed as follows: Atlantic Avenue Radiology, PC, 370 9th Street, Brooklyn,
NY, 11215, Attn: President, Officer, Managing or General Agent, and Atlantic Avenue
Radiology, P.C., 370 9th Street, Brooklyn, NY, 11215, c/o Vandana A. Chokshi, M.D.

5 . An Affidavit of Service of the Summons and Complaint was filed with the Court
on December 11, 2015, a copy of which is annexed hereto as Exhibit “C”.

6. The requirements of the Servicemembers Civil Relief Act [50 U.S.C. App. §§ 501
et seq.] are not applicable to this proceeding as the Defendant is not an individual.

7. The Defendant is not an infant or an incompetent person.

8. The Defendant has not answered or otherwise responded to the Complaint. A
copy of the docket in this case evidencing that there has been no answer or response is annexed

hereto as Exhibit “D”.

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9. Based on the foregoing, the Defendant is in default as defined in Rule 55 of the
Federal Rules of Civil Procedure, made applicable hereto by Rule 7055 of the Federal Rules of
Bankruptcy Procedure.

RELIEF SOUGHT

10. Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, made applicable
herein by Bankruptcy Rule 7055, the Clerk of the Court, upon request of a plaintiff, and the
filing of an affidavit, must enter a defendant’s default where the defendant has failed to plead or
otherwise defend.

11. Pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure, made
applicable herein by Bankruptcy Rule 7055, the Court, upon request of a plaintiff, may enter a
judgment against a defendant who has failed to plead or otherwise defend

12. Defendant has failed to answer the Complaint.

13. Accordingly, Plaintiff requests that the Clerk of the Court enter default against the
Defendant in the form annexed hereto as Exhibit “E”.

14. Further, the Plaintiff is entitled to have a default judgment entered against

Defendant in the amount of $46,104.85 plus interestl and costs of $350.00.

 

x lnterest, as determined by using the applicable Weekly average l-year constant maturity (nominal)
Treasury yield, as published by the Federal Reserve System, as found on htto://www.federalreserve.gov/ .
from the date of filing of the complaint

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WHEREFORE, Plaintiff` respectfully requests that the Court (a) enter a judgment in the

form annexed hereto as Exhibit “F”; and (b) grant such other relief as is just.

/s/ Carrie E. Essenfeld
Carrie E. Essenfeld

Sworn to before me this
16th day of June, 2015

/s/ Scott A. Zz`luck

Notary Public, State of New York
No. 02Z16029780

Qualified in Westchester County
Commission Expires 08/30/2017

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Exhibit “A”

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HALPERIN BATTAGLIA RAICHT, LLP
Carrie E. Essenfeld

40 Wall Street ~ 37th Floor

New York, New Yorl< 10005

Tel: (212) 765-9100

Fax: (212) 765-0964

Counselfor Plaz'ntijj”Charles M'. Berk,
Trusteefor the Liquidatz`ng Trusz‘ of
lnte)faith Medical Center, Inc.

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

ln re: Chapter ll

INTERFAITH MEDICAL CENTER, lNC. Case No. l2-48226 (CEC)

Debtor. Confirmed

 

INTERFAITH MEDICAL CENTER, lNC.
LIQUIDATING TRUST, by and through

Charles l\/l. Berl<, as Liquidating Trustee, Adversary Pmceeding NO 14_ : )
Plaintiff,

COMPLAINT TO AVOID AND

VS‘ RECOVER AVOIDABLE TRANSFERS

ATLANTIC AVENUE RADIOLOGY, PC,

Defendant

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Charles M. Berk, as liquidating trustee (the “lm_mje”) of the lMC Liquidating Trust (the
“Irpsj”) (and, together with the Trustee, the “Plaintif`f"), by and through its undersigned counsel,
files this complaint (the “Comp_laint”) to avoid and recover certain transfers made by one or
more of the predecessors in interest of the above-captioned reorganized debtor (the “_D_e_bt_g_r”)5 to
or for the benefit of Atlantic Avenue Radiology, PC (the “Defendant”), on knowledge as to itself
and as to all other matters on information and belief, respectfully alleges as follows:

NATURE OF THE ACTION

l. Plaintiff seeks a money judgment relating to certain avoidable transfers identified
on Exhibit A hereto in the aggregate amount of 346,104.85 made by the Debtor to Defendant in
the ninety (90) day period preceding the commencement of the Debtor’s bankruptcy case (each
transfer, an “Avoidable Transfer” and, collectively, the “Avoidable Transfers”).

2. Specifically, Plaintiff seeks entry of a judgment against Defendant (i) avoiding,
(a) pursuant to ll U.S.C. § 547(b), preferential transfers to or for the benefit of the Defendant,
or, in the alternative, subject to proof, (b) pursuant to ll U.S.C. §§ 544(b) and 548 any transfers
that may have been fraudulent conveyances, and (c) pursuant to ll U.S.C. § 549, any
unauthorized transfers that cleared post-petition; (ii) preserving for the benefit of the Trust, as the
designee of the Debtor’s estate, the Avoidable Transfers or the value thereof pursuant to
11 U.S.C. § 551; (iii) pursuant to 11 U.S.C. § 550(a), directing Defendant to pay to Plaintiff an
amount to be determined at trial that is not less than the amount of the Avoidable Transfers, plus
interest and {costs; and (iv) pending such payment, disallowing any claim of Defendant against

the Debtor pursuant to 11 U.S.C. § 502 (a) through (j) (“Section 502”).

 

5 The last four digits of the Debtor’s federal tax identification number are 6155. The Debtor's mailing address is
1545 Atlantic Avenue, Brooklyn, New York 11213.

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3. To the extent that Defendant has filed a proof of claim or has a claim listed on the
Debtor’s schedules as undisputed, liquidated, and not contingent, or has otherwise requested
payment from the Debtor or the Debtor’s Chapter 11 estate (collectively, the “_C_I_Un_”), this
Complaint is not intended to be, nor should it be construed as, a waiver of Plaintiff`s and/or the
Debtor’s right to object to such Claim for any reason including, but not limited to, Section 502,
and such rights are expressly reserved

JURISDICTIGN AND VENUE

4. The United States Bankruptcy Court for the Eastern District of New York (this
“_(_:_o__ur__t”) has subject matter jurisdiction over this adversary proceeding pursuant to
28 U.S.C. §§ 157, 1331 and 1334(b).

5. The statutory and legal predicates for the relief sought herein are sections 502,
544, 547, 548, 549, 550 and 551 of title ll of the United States Code, 11 U.S.C. §§ 101-1532
(the “Bankruptcy Code”) and Rules 3007 and 7001 of the F ederal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”).

6. This proceeding is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2).

7. Venue in this district is proper pursuant to 28 U.S.C. §1409.

PROCEDURAL AND FACTUAL BACKGROUND

8. On December 2, 2012 (the “Petition Date”), the Debtor commenced a case by
filing a voluntary petition for relief in this Court under chapter ll of the Bankruptcy Code.

9. On or about April 8, 2014 the Debtor filed its First Amended Disclosure
Statement for the First Amended Chapter 11 Plan of lnterfaith l\/ledical Center, lnc. [Docket No.
1018] (the “Disclosure Statement”). Pursuant to the liquidation analysis included as Exhibit 6 to

the Disclosure Statement (the “Liguidation Analysis”), unsecured creditors would have received

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0% of the value of their claims if the Debtor liquidated its unencumbered assets pursuant to
Chapter 7 of the Bankruptcy Code.

10. On May 27, 2014, the Debtor filed its Second Amended Chapter ll Plan of
lnterfaith Medical Center, Inc. (as modified from time to time, and including the Plan
Supplement and all other exhibits and schedules, the “Plan”) [Docket No. 1092].

ll. On April ll, 2014, the Court entered an order approving the Disclosure Statement
[Docket No. 1032]. Subsequently, on June ll, 2014, the Court entered an order confirming the
Plan [Docket No. 115 8] and it became effective on lune 19, 2014 (the “Effective Date”), thereby
creating the Trust.

12. The Plan established the Trust as a liquidating trust pursuant to the liquidating
Trust Agreement (the “'l`rust Agreement”), effective as of the Effective Date, for the sole purpose
of liquidating the T rust assets, with no objective to continue or engage in the conduct of trade or
business cxcept, to the extent reasonably necessary to, and consistent with, the liquidating
purpose of the Trust and the Plan.

13. Pursuant to Section 3.11 of the Trust Agreement, after the Effective Date, only the
Trustee has authority to maintain, prosecute, settle, dismiss, abandon, or otherwise dispose of
avoidance actions (the “lnterf`aith Avoidance Actions”). The Trustee is vested with the right to,
among other things, compromise, adjust, arbitrate, sue on or defend, abandon, or otherwise
resolve or settle claims in favor of, or against, the Trust (including the lnterfaith Avoidance
Actions). Furthermore, the Trustee may enter into and consummate settlements and
compromises of the lnterfaith Avoidance Actions.

14. Prior to the Petition Date, the Debtor operated, and still operates, a multi-site

health care system providing medical, surgical, pediatric, dental, psychiatric and other health

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care services, with outpatient services and an ambulatory care network of three clinics, located
throughout central Brooklyn. Accordingly, the Debtor maintained business relationships through
which it regularly purchased, sold, received, and/or delivered equipment, goods and services

15. During the ninety (90) days before the Petition Date, that is between September
3, 2012, and December l, 2012 (the “Preference Period”), the Debtor continued to operate its
business affairs, including the transfer of property, either by checks, cashier checks, wire
transfers, ACH transfers, direct deposits or otherwise to certain entities, including the Defendant

16. During the course of their relationship, the Debtor and Defendant entered into
agreements, evidenced by invoices, communications and other documents (collectively, the
“Agreements”), pursuant to which the Debtor and Defendant conducted business with one
another.

17. Plaintiff has completed an analysis of all readily available information of the
Debtor and is seeking to avoid all of the transfers of an interest in any of the Debtor’s property
made by the Debtor to Defendant within the Preference Period.

18. During the course of this proceeding, Plaintiff may learn (through discovery or
otherwise) of additional transfers made to Defendant during the Preference Period or that are
otherwise avoidable lt is Plaintiff’s intention to avoid and recover all transfers made by Debtor
of an interest of the Debtor in property to or for the benefit of Defendant

19. To the extent that the Debtor’s records do not accurately identify all transfers
made by the Debtor of an interest in the Debtor’s property, including but not limited to any
transfers that cleared post-petition, Plaintiff reserves its right to amend this Complaint to include:
(i) further information regarding the Avoidable Transfers (as defined below), (ii) additional

transfers, (iii) modifications of and/or revision of the Defendant’s name or identity, (iv)

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additional defendants, and/or (v) additional causes of action (collectively, the “Amendments”),
that may become known to Plaintiff at any time during the pendency of this adversary
proceeding, through formal discovery or otherwise, and for the Amendments to relate back to
this Complaint.

20. Plaintiff` acknowledges that some transfers may be subject to defenses under
Bankruptcy Code section 547(c), with respect to which Defendant bears the burden of proof
under Bankruptcy Code section 547(g).

COUNT I - TO AVOID PREFERENTIAL`
TRANSFERS PURSUANT TO 11 U.S.C. § 547(b)

21. The Plaintiff repeats and realleges each and every allegation contained in
paragraphs l through 20 above as if fully set forth herein

22. During the Preference Period, the Debtor made transfers to, or for the benefit of,
the Defendant in the amounts set forth in the chart annexed as Exhibit A hereto, which is
incorporated by reference herein (collectively, the “Avoidable Transfers”).

23. During the Pref`erence Period, the Defendant was a creditor of the Debtor within
the meaning of Bankruptcy Code section 547(b)(l) at the time of each Avoidable Transfer by
virtue of supplying goods and/or services for which Debtor was obligated to pay in accordance
with the Agreements.

24. The Avoidable Transfers were transfers of an interest of the Debtor in property

25 . According to the Debtor’s books and records, the Avoidable Transfers were made
to, or for the benefit of, the Defendant because each Avoidable Transfer either reduced or fully
satisfied a debt or debts then owed by the Debtor to Defendant

26. The Avoidable Transfers were made for or on account of antecedent debts owed

by the Debtor.

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27. The Avoidable 'l`ransfers were made while the Debtor was insolvent The
Plaintiff is entitled to the presumption of insolvency for each transfer made during the Preference
Period pursuant to ll U.S.C. § 547(f). Further, as evidenced by the Disclosure Statement, as
well as the proofs of claim that have been filed against the Debtor, the Debtor’s liabilities exceed
its assets. As set forth in the Disclosure Statement, it is estimated that general unsecured
creditors will receive less than full value on account of their allowed claims against the Debtor.

28. The Avoidable Transfers were made on or within 90 days prior to the Petition
Date.

29. The Avoidable Transfers enabled the Defendant to receive more than it would
receive if (a) the Debtor’s case was a case under chapter 7 of the Bankruptcy Code, (b) the
Avoidable Transfers had not been made, and (c) Defendant received payment of such debt to the
extent provided by the provisions of the Bankruptcy Code.

30. The Defendant was either the initial transferee of the Avoidable 'l`ransfers, the
entity for whose benefit the Avoidable Transfers were made, or was the immediate or mediate
transferee of the initial transferee receiving the Avoidable Transfers.

31. By reason of the foregoing, each Avoidable Transfer should be avoided and set
aside as a preferential transfer pursuant to ll U.S.C. § 547(b).

COUNT ll - TO AVOID FRAUDULENT
TRANSFERS PURSUANT TO 11 U.S.C. §§ 548 and 544(b)

32. The Plaintiff` repeats and realleges each and every allegation contained in
paragraphs l through 31 above as if fully set forth herein.
33. The Avoidable Transfers were made within two (2) years prior to the Petition

Date.

34. The Avoidable Transfers were made to, or for the benefit of, the Defendant

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35. Subject to proof, Plaintiff pleads, in the alternative, that to the extent one or more
of the Avoidable Transfers were not on account of an antecedent debt or were prepayments for
goods and/or services subsequently received, Debtor did not receive reasonably equivalent value
in exchange for the Avoidable Transfers, either (a) because the value of the services and/or
goods received was in fact less than the Avoidable Transfers or (b) because the Debtor received
such goods and/or services was not the Debtor that had incurred the debt and the Debtor was: (i)
insolvent on the dates of the Avoidable Transfers or became insolvent as a result of the
Avoidable Transfers; and/or (ii) engaged in business or a transaction for which any property
remaining with the Debtor was an unreasonably small capital at the time of, or as a result of, the
Avoidable Transfers; and/or (iii) the Debtor intended to incur, or believed that the Debtor would
incur, debts that would be beyond Debtor’s ability to pay as such debts matured (the "Potentially
Fraudulent Transfers").

36. The Avoidable Transfers either (a) were made while the Debtor was insolvent or
was in the zone of insolvency; (b) left the Debtor with unreasonably small capital; and/or
(c) were made while the Debtor intended to incur or believed that they had incurred debts that
they would not be able to pay as they became due.

37. By reason of the foregoing, the Avoidable Transfers should be avoided and set

aside as fraudulent transfers

COUNT III - AVOIDANCE OF UNAUTHORIZED
POST-PETI'_[`ION TRANSFERS PURSUANT TO 11 U.S.C. § 549

38. The Plaintiff repeats and realleges each and every allegation contained in
paragraphs l through 37 above as if fully set forth herein.
39. Subject to proof, Plaintiff pleads that to the extent any transfers made by the

Debtor to Defendant, including the Avoidable 'l`ransfers, were transfers of an interest in the

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property of the Debtor that cleared the Debtor’s bank account after the Petition Date (the “_P_os_t-
Petition 'l`ransfers”), such Post-Petition Transfers were never authorized by the Court or under
the Bankruptcy Code and, thus in accordance with the foregoing, is property of the Estate that is
avoidable pursuant to ll U.S.C. § 549.

COUNT IV - TO PRESERVE
PROPE,RTY PURSUANT TO 11 U.S.C. 8 551

40. The Plaintif`f repeats and realleges each and every allegation contained in
paragraphs l through 39 above as if fully set forth herein.

41. The Avoidable 'l`ransfers are property of the estate of the Debtor.

42, Therefore, the Avoidable 'l`ransfers, or the value thereof, should be preserved for
the benefit of the Debtor’s estate pursuant to § 551 of the Bankruptcy Code.

COUNT V- T() RECOVER AVOIDABLE
TRANSFERS PURSUANT TO ll U.S.C. § 550

43. The Plaintiff repeats and realleges each and every allegation contained in
paragraphs l through 42 above as if fully set forth herein.

44. The Plaintiff is entitled to avoid the Avoidable Transfers pursuant to
ll U.S.C. § 547(b), or, alternatively, the Potentially Fraudulent Transfers pursuant to
11 U.S.C.§ 548, and any Post-Petition Transfers pursuant ll U.S.C. § 549 (the Avoidable
Transfers, Potentially Fraudulent Transfers, and Post- Petition Transfers collectively, “_A_l_l_
Avoidable Transfers”).

45. The Defendant was the initial transferee of All Avoidable Transfers, the
immediate or mediate transferee of such initial transferee, or the person for whose benefit All

Avoidable Transfers were made.

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46. Pursuant to ll U.S.C. § 550(a), Plaintiff is entitled to recover from Defendant an
amount to be determined at trial that is not less than $46,104.85 plus interest thereon to the date

of payment and the costs of this action.

C()UNT Vl- TO DISALLOW
CLAIMS PURSUANT TO 11 U.S.C. 8 502(d) and (1)

47. The Plaintiff repeats and realleges each and every allegation contained in
paragraphs l through 46 above as if fully set forth herein.

48. The Defendant is an entity from which property is recoverable under
ll U.S.C. § 550.

49. The Defendant was the initial transferee of All Avoidable Transfers, the
immediate or mediate transferee of such initial transferee, or the person for whose benefit All
Avoidable Transfers were made.

5 0. The Defendant has not paid the amount of All Avoidable Transfers, or turned over
such property, for which Defendant is liable under ll U.S.C. § 550.

51. Pursuant to 11 U.S.C. § 502(d), any and all Claims of Defendant and/or its
assignee, against the Debtor’s Chapter 11 estate or Plaintiff must be disallowed until such time as
Defendant pays to .Plaintiff all amounts sought in paragraph 45 above.

52. Pursuant to ll U.S.C. § 502(]`), any and all previously allowed Claims of
Defendant, and/or its assignee, against the Debtor’s chapter ll estate or Plaintiff must be
reconsidered and disallowed until such time as Defendant pays to Plaintiff all amounts sought in

paragraph 45 above.

WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests that this

Court enter judgment against Defendant

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s)
h)

avoiding All Avoidable Transfers pursuant to 11 U.S.C. § 547(b), or, in the
alternative, pursuant to ll U.S.C. §§ 548 and 544(b) or ll U.S.C. § 549;

preserving for the benefit of the Debtor’s estate All Avoidable Transfers or the
value thereof pursuant to 11 U.S.C. § 551;

pursuant to ll U.S.C. § 550(a), directing Defendant to pay to Plaintiff an
amount to be determined at trial that is not less than 846,104.85, plus interest
and costs;

disallowing any Claim of Defendant against the Debtor pursuant to ll U.S.C.
§ 502(d) and (j);

awarding prejudgment interest at the maximum legal rate running from the
date of the Plaintif`f’s first demand to return All Avoidable Transfers to the
date of judgment with respect to this Complaint (the “ udgment”) herein;

awarding post-judgment interest at the maximum legal rate running from the
date of the Judgment until the date the judgment is paid in full, plus costs;

requiring Defendant to pay forthwith the amount of the Judgment; and

granting Plaintiff such other and further relief as the Court deems just and
proper.

Dated: New York, New York
‘ November 24th, 2014

HALPERIN BATTAGLIA RAlCH'l`, LLP
By: /s/ Carrie E. Essenfeld

Carrie E. Essenfeld

40 Wall Street - 37th Floor
New York, New York 10005
(212) 765~9100

Cozmselfor PlainZi/ij/rarles M Berk,

Trusteefor the Lz'quidazing Trzlst of
firrerfaith Medical Cemer, lnc.

ll

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EXHIBIT A

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EXhibit “B”

 

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UNITED STATES BANKRUPTCY COURT
Eastern District of New York

NOTE: All documents filed in this matter must be identified by both
adversary and bankruptcy case numbers case chapter andjudge's initials

ln re: lnterfaith Medical Center, Inc. Bankruptcy Case No.:
1~12~48226~cec

INTERFAITH MEDICAL CENTER, INC. LIQUIDATING TRUST, by and
through Charles M. Berk, as Liquidating Trustee

Plaintiff(s),
_ . _ Adversary Proceeding No.
agam$t 1-14-01155-¢€¢
Atlantic Avenue Radiology, PC
Defendant(S)

SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that
the United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

 

Address of Clerk:
United States Bankruptcy Court

271-C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201-1800

At the same time, you must also serve a copy of the motion or answer upon the plaintiffs attorney.

 

 

Name and Address of
Plaintift‘s Attorney:
Carrie Essenfeld
Halperin Battaglia Raicht LLP
40 Wall Street
37th Floor
New York, NY 10005

 

If you make a motion, your time to answer is governed by Bankruptcy Rule 70l2.

YOU ARE N'OTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.

 

Location: t Date and Time:
United States Bankruptcy Court, 271-C Cadman Plaza East, February 9, 2015 at 02:30 PM
Courtroom 3529 ~ 3rd Floor, Brooklyn, NY 11201-1800

 

 

 

 

lF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CGNSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND IUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

 

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Dated: December 3, 2014 Robert A. Gavin, Jr., Clerk of the Court

Summons [Summons and Notice of Pretrial Conf`. rev. 03/16/2009]

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Exhibit “C”

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

)
In rec ) Chapter ll

)

lNTERFAITl-I MEDICAL CENTER, INC. ) Case No. 12-48226 (CEC)
)

Debtor. ) Conf`irmed
)
lNTERFAlTH MEDICAL CENTER, lNC. )
LIQUIDATING TRUST, by and through Charles )
M. Berk, as Liquidating Trustee, )
)
Plaintiff, ) Adversary Proceeding No 14-01 l55 (CEC)
)
vs. )
)
ATLANTIC AVENUE RADIOLOGY, PC, )
)
)
Defendant. )
AFFIDAVIT OF SERVICE

 

STATE OF NEW YORK )
) ssr
COUNTY OF NEW YORK )

Amy l\/l. Augustyn, being duly sworn, deposes and says:

l am not a party to the action. l am over the age of eighteen years and reside in Nassau,
New York.

On December lO, 2014 l served copies of documents referenced below by causing true
and correct copies of the same to the persons listed on Exhibit A by first-class mail, postage
prepaid:

DOCUMENT l : Summons and Nolz'ce ofPrelrial Conference in an Adversary Proceeding
DOCUMENT 2: Complaz`nt to Avoid and Recover Avol`dable Tran.sfers.
/S/Amv M Auguslvn

 

Amy M. Augustyn
Sworn to before me this l l'h
day of December 2014.

/s/ Ligee Gu

Ligee Gu

Notary Public, State of New York
No. 02GU624!333

Qualit'\ed in New York County
Commission Expires 5/ 16/ 15

{00230689.l / 1067-001 }

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Exhibit A

Atlantic Avenue Radiology, PC

370 9th Street

Brooklyn, NY l 1215

Attn: President, Officer, Managing or General Agent

Atlantic Avenue Radiology P.C.
C/o Vandana A. Chokshi, M.D.
370 9th Street

Brooklyn, NY 11215

{00230689.1 / 1067~001 }2

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Exhibit “D”

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U.S. Bankruptcy Court
Eastern District of New York (Brooklyn)
Adversary Proceeding #: 1-14-01155-cec

Assigned to.' Carla E. Craig Date Fz`led.' l l/24/ 14
Lead BK Case.' l,2~48226

Lead BK Tz'tle.' lnterfaith Medical Center, Inc.

Lead BK Chapter ll

Demand.' $46000

Narure[s] ofSuz`z‘: 12 Recovery of money/property - 547 preference
13 Recovery of money/property - 548 fraudulent transfer

 

 

 

 

Plaintijj¢
INTERFAITH MEDICAL CENTER, INC. represented by Carrie Essenfeld
LIQUIDATING TRUST, by and through Halperin Battaglia Benzija LLP
Charles M. Berk, as Liquidating Trustee 40 Wall Street
37th Floor
New York, NY 10005
(212) 765~9100
Fax : (212) 765-0964
Ernail: cmitchell@"halperinlaw.net
V.
Defendant
Atlantic Avenue Radiology, PC represented by Atlantic Avenue Radiology, PC
PRO SE
Filing Date # Docket Text
_.L Adversary case 1-14-01 155. Complaint by INTERFAITH
(13 pgs) MEDICAL CENTER, INC. LIQUIDATING TRUST, by
and through Charles M. Berl<, as Liquidating Trustee against
Atlantic Avenue Radiology, PC. Fee Amount $350. Nature
(s) of Suit: (12 (Recovery of money/property ~ 547
preference)), (13 (Recovery of money/property ~ 548
fraudulent transfer)). (Essenfeld, Carrie) (Entered:
11/24/2014 11/24/2014)
11/24/2014

 

 

 

 

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Case 1-14-01155-cec

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Page 2 of 3

Receipt of Complaint( 1-14-01 l$$~cec) [cmp,cmp] ( 350.00)
Filing Fee. Receipt number 12953613. Fee amount 350.00.
(re: Doc# l) (U.S. Treasury) (Entered: 11/24/2014)

 

12/02/2014

_,;?:_
(2 psS)

Staternent Adversary Proceeding Cover Sheez‘ Filed by
Carrie Essenfeld on behalf of INTERFAITH MEDICAL
CENTER, INC. LIQUIDATING TRUST, by and through
Charles M. Berk, as Liquidating Trustee (Essenfeld, Carrie)
(Entered: 12/02/2014)

 

12/03/2014

til psS)

Summons and Notice of Pre-Trial Conference issued by
Clerk's Offlce against Atlantic Avenue Radiology, PC
Answer Due: l/5/20]5 Pre~Trial Conference set for 2/9/2015
at 02:30 PM at Courtroom 3529 (Judge Craig), Brooklyn,
NY. (dkc) (Entered: 12/03/2014)

 

12/11/2014

Summons Served on Atlantic Avenue Radiology, PC
12/10/2014 . (Essenfeld, Carrie) (Entered: 12/11/2014)

 

03/27/2015

Letter Notz`ce of Law Fz'rm Name Change Filed by Carrie
Essenfeld on behalf of INTERFAITH MEDICAL CENTER,
INC. LIQUIDATING TRUST, by and through Charles M.
Berk, as Liquidating Trustee (Essenfeld, Carrie) (Entered:
03/27/2015)

 

05/28/2015

Notice of Default Filed by INTERFAITH MEDICAL
CENTER, INC. LIQUIDATING TRUST, by and through
Charles M. Berk, as Liquidating Trustee. (Essenfeld, Carrie)
(Entered: 05/28/2015)

 

06/04/20l 5

 

 

 

Motion to Dismiss/Withdraw Filed by Carrie Essenfeld on
behalf of INTERFAITH MEDICAL CENTER, INC.
LIQUIDATING TRUST, by and through Charles M. Berl<,
as Liquidating Trustee (related document(s)_6_). (Essenfeld,
Carrie) (Entered: 06/04/2015)

 

 

 

 

 

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Exhibit “E”

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United States Bankruptcy Court

Eastern District Of New York

In re H\TTERFAITH MEDICAL CENTER, INC.

INTERFAi’fifi\/EDICAL cENTER, INC.
LIQUIDATING TRUsT, by and through

Plaintiff

 

ease NO_ 12~48226 (CEC)

Chapter ___11

 

ATLAN'TIC AVENUE RADIOLOGY, PC,

Defendant

Adv. Proc. No. 14'01155 (CEC)

 

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ENTRY OF DEFAULT

lt appears from the record that the following defendant failed to plead or otherwise defend
in this case as required by law.

 

Name:

ATLANTIC AVENUE RADIOLOGY, PC

 

 

 

Therefore, default is entered against the defendant as authorized by Federal Rule of
Bankruptcy Procedure 705 5.

 

Clerk of lhe Bankruptcy Cow't

By:
Date Depuly Clerk

 

 

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EXhibit “F”

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

)
ln re: ) Chapter ll
)
INTERFAITH MEDICAL CENTER, INC., ) Case No. 12~48226 (CEC)
)
Debtor. l
)
lNTERFAlTH MEDICAL CENTER, lNC. )
LIQUIDATING TRUST, by and through Charles )
M. Berk, as Liquidating Trustee, )
Piaimirr, §
_ ‘ t..
aga‘“$ ) Adv. NQ. 14_01155 (CEC)
)
ATLANTIC AVENUE RADIOLOGY, PC, §
Defendant.
JUDGMENT BY DEFAULT

 

Plaintiff Charles M. Berl<, as liquidating Trustee of the IMC liquidating Trust,
having commenced the above captioned adversary proceeding by the filing of a complaint (the
“Complaint”) seeking judgment against Atlantic Avenue Radiology, PC (“Defendant”) in the
amount of $46,104.85, and a summons having been duly issued by the Clerk of the Bankruptcy
Court on December 3, 20l 5, and Plaintiff having obtained the entry of default against Defendant
as authorized by Bankruptcy Rule 7055, and upon the Plaintiff”s motion for judgment by default
pursuant to Bankruptcy Rule 7055 seeking judgment against Defendant in the amount of
$46,l04.85 plus interest at the legal rate from the date of the filing of the Complaint, together
with all cost of this action including the filing fee for the complaint of $350.00; it is

ADJUDGED, that Plaintiff has a judgment against Defendant Atlantic Avenue

Radiology, PC, having its place of business at Atlantic Avenue Radiology, PC, 370 9“‘ Street,

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Brooklyn, NY, ll?.l$, in the amount of $46,]04.85, plus interest, plus costs in the amount of

3350.00.

